Case 8:22-cv-01381-FWS-ADS Document 1 Filed 12/21/20 Page 1 of 8 Page ID #:1




                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT

ROBERT LETSKUS, JR.                                   )       CIVIL ACTION NO.
                                                      )       _________________
                               Plaintiff,             )
                                                      )
                v.                                    )
                                                      )       COMPLAINT
KVC GROUP, LLC d/b/a NATIONAL                         )
CREDIT PARTNERS, PRIME LEGAL                          )
FIRM, DENISE HO and KIM VO,                           )
                                                      )
                               Defendants.            )       DECEMBER 21, 2020

                                             PARTIES

       1.       The Plaintiff Robert Letskus, Jr. (“Mr. Letskus”), is a resident of Connecticut and
the owner of RPL Real Estate, LLC (“RPL”), which is also a Connecticut company, located at 32
Hathaway Lane, Madison, Connecticut 06443.
       2.       Defendant KVC Group, LLC d/b/a National Credit Partners (“KVC”), is a
California corporation conducting business nationwide. Its principal place of business is 1551 N.
Tustin Ave, Suite 550, Santa Ana, California 92705. The registered agent is Kurtis Urien, at the
same address.
       3.       Prime Legal Firm (“Prime Legal”) is a law firm whose principal place of business
is 1100 West Town and Country Road, Suite 1250, Orange. California 92858. The registered
agent is Denise Ho, at the same address.
       4.       Denise Ho (“Ms. Ho”) is a licensed attorney in California who resides in
California and, upon information and belief, works for Prime Legal.
       5.       Kim Vo (“Ms. Vo”) is, upon information and belief, the owner of KVC and a
resident of California.
                                 JURISDICTION AND VENUE

       6.       The Court has “federal question” jurisdiction over this case pursuant to 18 U.S.C.
§§1961-1968 (the federal RICO statute).
       7.       This Court has original jurisdiction over this action pursuant to 28 U.S.C.
§1332(a), which provides in relevant part: “[t]he district courts shall have original jurisdiction of
all civil actions where the matter in controversy exceeds the sum or value of $75,000.00,
Case 8:22-cv-01381-FWS-ADS Document 1 Filed 12/21/20 Page 2 of 8 Page ID #:2




exclusive of interest and costs, and is between citizens of different States.” Moreover, pursuant
to 28 U.S.C. §1332(a), complete diversity exists.
       8.      The Court also has jurisdiction over Defendants pursuant to Connecticut’s Long
Arm Statute, as codified in Conn. Gen. Stat. §52-59b.
       9.      Venue lies with this Court pursuant to 28 U.S.C. §1391(b)(2).
    THE DEFENDANTS’ SCHEME TO DEFRAUD MR. LETSKUS, NATIONWIDE
             CONSUMERS AND CONNECTICUT CONSUMERS
       KVC is a debt relief company operating nationwide. They advertise they can do great
things for businesses who are in severe financial distress. Their agents hire individuals and
owners to sign contracts with KVC under the express representation that there is no personal
guaranty by them and that they cannot be sued personally in case the company defaults on
payments. KVC then has them sign adhesion contracts which contain no personal guaranty
claim. The contracts also state that any claims or disputes will be arbitrated in the county and
state where the business is located.

       KVC undertakes representation of the company named in the contract and attempts to
lower payment amounts on the company’s debts by extending the terms of the loans. KVC also
collects upfront fees from the company before they begin negotiating with the debt companies,
despite representations that insist that there is no up-front out of pocket fees for the program.
They are often remarkably unsuccessful in their efforts, yet demand that exorbitant fees be paid
immediately. If the client is unable to pay, KVC files litigation in California against both the
business and the individual owner, despite the promise of no personal guaranty and the fact that
the individual is not a signatory to any agreement. Although the naming of individuals is
patently in bad faith and frivolous, KVC refuses to dismiss the individual who gave no personal
guarantee to KVC. This forces the individual to spend thousands of dollars to get the frivolous
and vexatious litigation against them dismissed.

       This exact scheme to defraud is being, and has been, perpetrated on Mr. Letskus, and is
being perpetrated nationwide against businesses, consumers, and guarantors. These illegal
schemes give rise to a number of causes of actions by Mr. Letskus, on his individual behalf.
These illegal schemes also give rise to violations of statutes which Mr. Letskus is pursuing to
protect society as de facto “private attorney generals” including violations of the Connecticut
Unfair Trade Practices Act (CUTPA) and civil provisions of the Federal RICO statute.
Case 8:22-cv-01381-FWS-ADS Document 1 Filed 12/21/20 Page 3 of 8 Page ID #:3




       Hundreds and perhaps thousands of acts of mail fraud and wire fraud constituting crimes
under 18 U.S.C. Sections 1341 and 1343 have and are being committed in furtherance of these
schemes to defraud. These acts of mail and wire fraud constitute a “pattern of racketeering
activity” pursuant to the RICO Act 18 U.S.C. Section 1961(5). Such illegal activities are being
conducted by an “enterprise” which is ongoing, lightly organized, which has created a major
threat for KVC to continue the aforementioned illegal activities. An investigation has revealed
Defendants are perpetrating this fraud scam on a widespread basis. In one California court
alone, at least 14 such frivolous lawsuits have been filed against different companies and
individuals since February of this year.

                                  FACTUAL ALLEGATIONS

       10.     On or about January 16, 2019, Mr. Letskus spoke to Dan Hakim (“Mr. Hakim”)
of KVC about assistance in lowering payments on the existing debts of RPL.

       11.     Mr. Hakim expressly represented that the contract would be with RPL only and
that there would be no personal guaranty by Mr. Letskus, and that he could not and would not be
personally sued in the event the company defaulted.

       12.     Former employee of KVC, Justin Smith, also stated that in the event of a dispute
it would be litigated in the county where RPL is located, which is in Connecticut.

       13.     KVC produced a contract (the “Contract”) which Letskus signed on behalf of
RPL on January 18, 2019. The Contract was signed by Ms. Vo, on KVC’s behalf. A true and
correct copy of the contract is attached as Exhibit 1.

       14.     The Contract contained no personal guaranty and stated that any dispute would be
arbitrated in the county of RPL’s business location in Connecticut.

       15.     Page 3 of the January 18, 2019 Contract makes it clear that the only parties to the
Contract were RPL and KVC.

       16.     A dispute arose between RPL and KVC in the spring and summer of 2019. In
particular, Mr. Letskus became aware that the payments being sent to KVC were not being sent
to lenders on time, which caused substantial damage to RPL’s credit reports. Moreover, KVC’s
monthly payments began to substantially exceed amounts due to one remaining lender after other
lenders were paid in full.
Case 8:22-cv-01381-FWS-ADS Document 1 Filed 12/21/20 Page 4 of 8 Page ID #:4




       17.     On June 14, 2019, KVC demanded arbitration with RPL Real Estate only. Mr.
Letskus was not a named respondent, as well he should not have been considering the lack of
personal guaranty or individual liability pursuant to the Contract.

       18.     A Preliminary Hearing and Scheduling Order was entered by the arbitrator on
October 11, 2019, in the case of KVC Group, LLC d/b/a National Credit Partners v. RPL Real
Estate, LLC. The Order did not include Mr. Letskus because he was not a party to the
proceeding.

       19.     An arbitration hearing was held on the matter absent the attendance of RPL or Mr.
Letskus. On January 2, 2020, an arbitrator’s award was entered in favor of RPL only in the
amount of $25,071.20, plus arbitrator-related fees.

       20.     On February 4, 2020, KVC filed a Petition to Confirm the arbitration award in the
Superior Court of California, County of Orange, Central Justice Center located at 700 Civic
Center Drive West. Santa Ana, California 92701 and was entitled KVC Group LLC, d/b/a
National Credit Partners v. RPL Real Estate, LLC and Robert Letskus, Jr. (the “California
Litigation”). KVC filed against both RPL (a party to the contract and arbitration proceeding) and
Mr. Letskus (a non-party to the contract and arbitration proceeding). The only cause of action
brought by KVC was for breach of contract and was therefore frivolous and vexatious as to non-
party, Mr. Letskus.

       21.     On June 16, 2020, Attorney Dennis Graff (“Mr. Graff”), on behalf of RPL and
Mr. Letskus, sent a letter to KVC’s attorney, Ms. Ho (of Prime Legal), advising her he had no
objection to stipulating to the judgment against RPL and pointing out that Mr. Letskus should be
dismissed from the California Litigation since he was not a party to the arbitration.

       22.     On August 7, 2020, a hearing was held on KVC’s Petition to Confirm its
Arbitration Award in the California Litigation. After the hearing, the Court summarily dismissed
Mr. Letskus, specifically stating: “Although Robert Letskus, Jr. has been named as a
Respondent in this matter, he was not identified as a party to the arbitration in that award at
issue, and no other basis for having named him as a Respondent under CCP §1287.2.”

       23.     Ms. Ho drafted the judgment which dismissed the case as to Mr. Letskus
Case 8:22-cv-01381-FWS-ADS Document 1 Filed 12/21/20 Page 5 of 8 Page ID #:5




          24.   The cost to Mr. Letskus of defending this vexatious litigation by KVC and Prime
Legal Firm is in excess of $30,000.

          25.   Mr. Graff, concerned that this fraud scam might be perpetrated on a widespread
basis, investigated, and found that KVC and Prime Legal had filed 14 exactly similar lawsuits in
Orange County Superior Court alone from February of this year.

          26.   Mr. Graff examined all 14 lawsuits in detail and found that in each and every case
that KVC had a contract with filed lawsuits against both the company and the individuals,
despite the fact that there was no personal guaranty in each case.

          27.   Mr. Letskus and his counsel spoke to a number of victims of Defendants fraud
scam around the county who complained that they were being sued personally, although they
never personally guaranteed the company debt in the contract.

          28.   Upon information and belief, there are scores and perhaps hundreds of victims of
this ongoing scam who are being ripped off for millions of dollars, having their credit and
representations destroyed, and being forced to spend huge amounts of money to defend patently
vexatious litigation.

          29.   At all times relevant the Defendants have acted in concert and are individually
and vicariously liable for the acts of the others as employees, employers, agents, co-conspirators,
independent contractors, and other relationships creating joint and several liability for the acts of
each one and all Co-defendants.

          30.   Discovery is only beginning in this matter and Mr. Letskus anticipates adding
additional causes of actions and/or Defendants as discovery progresses and is completed.

                                           COUNT I
                                  (Fraud against All Defendants)

          31.   Mr. Letskus repleads and realleges the allegations set forth in Paragraphs 1-30
herein.
          32.   Defendants made multiple false statements of fact to Mr. Letskus to induce him to
enter into the Contract.
          33.   The statements were known to be untrue when made by Defendants.
Case 8:22-cv-01381-FWS-ADS Document 1 Filed 12/21/20 Page 6 of 8 Page ID #:6




          34.   The statements were made with the specific intent to induce Mr. Letskus to act
upon them.

          35.   Mr. Letskus in fact relied upon and acted upon the false representations of fact to
his injury.

                                         COUNT II
 (Violations of the Connecticut Unfair Trade Practices Act, Conn. Gen. Stat. §42-110a, et seq.
                                   against All Defendants)

          36.   Mr. Letskus repleads and realleges the allegations set forth in Paragraphs 1-30
herein.
          37.   The actions of the Defendants constitute unfair methods of competition and unfair
or deceptive acts or practices in the conduct of trade or commerce in violation of the Connecticut
Unfair Trade Practices Act, Conn. Gen. Stat. §42-110a, et seq.
          38.   The actions of Defendants offend public policy as it has been established by
statutes, the common law, or otherwise.
          39.   The actions of Defendants are immoral, unethical, oppressive, or unscrupulous.
          40.   The actions of Defendants have caused substantial injury to Mr. Letskus, other
consumers, and competitors.
          41.   Upon information and belief, Defendants have engaged in a pattern and practice
of similar violations against other consumers and competitors.

                                          COUNT III
                      (Negligent Misrepresentation against All Defendants)
          42.   Mr. Letskus repleads and realleges the allegations set forth in Paragraphs 1-30
herein.
          43.   Defendants made false statements and supplied false information to Mr. Letskus.
          44.   Defendants failed to exercise reasonable care in communicating the information.
          45.   Defendants supplied the misinformation to Mr. Letskus to get him to act on it.
          46.   Mr. Letskus justifiably relied on the information to his injury.
Case 8:22-cv-01381-FWS-ADS Document 1 Filed 12/21/20 Page 7 of 8 Page ID #:7




                                          COUNT IV
                         (Civil RICO Violations against All Defendants)
          47.   Mr. Letskus repleads and realleges the allegations set forth in Paragraphs 1-30
herein.
          48.   Defendants are “persons” as defined by the Federal RICO statute, Section
1961(a)(3).
          49.   Defendants constitute an “enterprise” as defined by the Federal RICO statute,
Section 1961(a)(4).
          50.   The “enterprise” consisting of all Defendants have engaged in multiple acts of
mail fraud and wire fraud in violation of 18 U.S.C. Sections 1341 and 1343 constituting a
“pattern of racketeering” as defined by 18 U.S.C. Section 1961(a)(1) and 1961(a)(3).
          51.   The “pattern of racketeering” engaged in by the enterprise consisting of all
Defendants constitute “Prohibited Activities” in violation of 18 U.S.C. Sections 1961(b),
1962(c), and 1962(d).
          52.   The illegal activities of the enterprise have actually and proximately caused
severe damage to Mr. Letskus entitling him to the civil remedies set forth in 18 U.S.C. Section
1964.

                                           COUNT V
                          (Vexatious Litigation against All Defendants)
          53.   Mr. Letskus repleads and realleges the allegations set forth in Paragraphs 1-30
herein.
          54.   Prime Legal filed the California Litigation without probable cause against Mr.
Letskus personally.
          55.   Prime Legal maliciously filed the California Litigation with malicious intent.
          56.   The California Litigation terminated in Mr. Letskus’ favor.
Case 8:22-cv-01381-FWS-ADS Document 1 Filed 12/21/20 Page 8 of 8 Page ID #:8




                                    PRAYER FOR RELIEF

       WHEREFORE, Mr. Letskus prays for the following relief:

       1.     All actual, compensatory, and incidental damages;
       2.     Attorneys’ fees pursuant to Conn. Gen. Stat. §42-110, et seq.;
       3.     Punitive damages;
       4.     Statutory damages;
       5.     Treble damages pursuant to Conn. Gen. Stat. §42-110, et seq.;
       6.     Treble damages, reasonable attorneys’ fees, and costs of suit pursuant to 18
              U.S.C. 1964(c);
       7.     Prejudgment and post-judgment interest;
       8.     Temporary and Permanent Injunctive Relief against all Defendants pursuant to 18
              U.S.C 1964(a) including but not limited to the following:
              a)      An order directing all Defendants to divest their fees of any interest, direct
              or indirect in the enterprise;
              b)      An order prohibiting any Defendants from engaging in the same types of
              fraudulent endeavors in the future as such activities affect interstate or foreign
              commerce;
              c)      An order dissolving KVC as an enterprise;
       9.     Any other orders this court deems just and appropriate.


Dated: Fairfield, Connecticut                        PLAINTIFF: ROBERT LETSKUS,
       December 21, 2020                             JR.

                                                     By: /s/ Michael A. Zamat
                                                         Michael A. Zamat, Esq. (ct28101)
                                                         PETERSON ZAMAT, LLC
                                                         1275 Post Rd., Suite 200-D
                                                         Fairfield, CT 06824
                                                         Telephone: 203.292.9798
                                                         Facsimile: 203.774.1155
                                                         Michael@petersonzamat.com
